     Case 8:25-cv-00337-BAH          Document 118-6         Filed 03/07/25     Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 PFLAG, INC., et al.,


        Plaintiffs,
                                                         Civil Action No. BAH-25-337
                        v.
 DONALD J. TRUMP, in his official capacity as
 President of the United States, et al.,

        Defendants.


  [PROPOSED] ORDER ON PLAINTIFFS’ EMERGENCY MOTION TO ENFORCE
                    PRELIMINARY INJUNCTION

       This matter is before the Court on Plaintiffs’ Motion to Enforce the Preliminary Injunction.

Finding good cause, the Court GRANTS the Motion. The Court hereby directs Defendants and

any subagencies, including the Centers for Medicare and Medicaid Services, the Health Resources

and Services Administration, and the Substance Abuse and Mental Health Services

Administration, to immediately rescind the notices issued on March 5 and 6, 2025 and any other

similar notices issued to date indicating that an institution’s federal funding is or may be

conditioned on whether the federal funding recipient provides gender affirming medical care to

people under nineteen, and to post notices of these rescissions on their respective websites.

       The Court further orders that all Agency Defendants and their subagencies must provide

recipients of the rescission notice with a copy of the Court’s enforcement order, the preliminary

injunction in this matter, and the Court’s March 4, 2025 memorandum opinion.

       The Court further orders the Agency Defendants to file with the Court signed confirmation

from the leader of each Defendant agency (including all subagencies of HHS) that they have

personally received a copy of this enforcement order and have read it.
Case 8:25-cv-00337-BAH     Document 118-6   Filed 03/07/25    Page 2 of 2



 Dated this _____ day of ______, 2025       BY THE COURT:

                                            _____________________
                                            Brendan A. Hurson
                                            United States District Judge




                                    2
